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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                              Chapter 11

             TOWN SPORTS INTERNATIONAL, LLC, et al.,1                            Case No. 20-12168 (CSS)

                                                Debtors.                         (Jointly Administered)



                                SCHEDULES OF ASSETS AND LIABILITIES AND
                                  STATEMENTS OF FINANCIAL AFFAIRS FOR
                              TSI LUCILLE JERSEY CITY, LLC (CASE NO. 20-12657)




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            The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing
         address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
         large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of
         the Debtors, the last four digits of their federal tax identification numbers, and their addresses are not provided herein.
         A complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
         agent at http://dm.epiq11.com/TownSports, or by contacting the proposed undersigned counsel for the Debtors.
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                              )
             In re:                                                           )    Chapter 11
                                                                              )
             TOWN SPORTS INTERNATIONAL, LLC, et al.,1                         )    Case No. 20-12168 (CSS)
                                                                              )
                                                                              )
                                                Debtors.                      )    (Jointly Administered)
                                                                              )

                   GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
         METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
           OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                 The above-captioned debtors and debtors in possession (collectively, the “Debtors”) have
         filed their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of
         Financial Affairs (the “Statements”) in the United States Bankruptcy Court for the District of
         Delaware (the “Court”). The Debtors, with the assistance of their legal and financial advisors,
         prepared the Schedules and Statements in accordance with section 521 of chapter 11 of title 11 of
         the United States Code (the “Bankruptcy Code”) and rule 1007 of the Federal Rules of
         Bankruptcy Procedure.

                Laura Marcero has signed each set of the Schedules and Statements. Mrs. Marcero serves
         as the Deputy Chief Restructuring Officer for each of the Debtors, and she is an authorized
         signatory for each of the Debtors. In reviewing and signing the Schedules and Statements, Mrs.
         Marcero has necessarily relied upon the efforts, statements, advice, and representations of
         personnel of the Debtors and the Debtors’ legal and financial advisors. Given the scale of the
         Debtors’ business and the complexity of the Debtors’ records, Mrs. Marcero has not (and could
         not have) personally verified the accuracy of each such statement and representation, including
         statements and representations concerning amounts owed to creditors.

                In preparing the Schedules and Statements, the Debtors relied on financial data derived
         from their books and records that was available at the time of such preparation. Although the
         Debtors have made every reasonable effort to ensure the accuracy and completeness of the
         Schedules and Statements, subsequent information or discovery may result in material changes to
         the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the




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         address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
         large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of
         the Debtors, the last four digits of their federal tax identification numbers, and their addresses are not provided herein.
         A complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
         agent at http://dm.epiq11.com/TownSports, or by contacting the proposed undersigned counsel for the Debtors.
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         avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
         and Statements as may be necessary or appropriate.

                 The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
         the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
         or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
         negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
         communicating, or delivering the information contained herein. While commercially reasonable
         efforts have been made to provide accurate and complete information herein, inadvertent errors or
         omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
         not undertake any obligation to update, modify, revise, or re-categorize the information provided
         herein or to notify any third party should the information be updated, modified, revised, or
         re-categorized, except as required by applicable law. In no event shall the Debtors or their agents,
         attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
         consequential, or special damages (including, but not limited to, damages arising from the
         disallowance of a potential claim against the Debtors or damages to business reputation, lost
         business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
         their agents, attorneys, and financial advisors are advised of the possibility of such damages.

                                   Global Notes and Overview of Methodology

         1.     Description of Cases. On September 14, 2020 (the “Initial Petition Date”), Town Sports
                International, LLC and 161 affiliates filed voluntary petitions for relief under chapter 11 of
                the Bankruptcy Code. On October 21, 2020, 42 additional direct or indirect subsidiaries
                of Town Sports International, LLC each commenced a voluntary case under chapter 11 of
                the Bankruptcy Code. The Debtors are operating their businesses and managing their
                property as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
                Code. On September 16, 2020 and October 26, 2020, the Court entered the Order
                Directing the Joint Administration of the Debtors’ Chapter 11 Cases [Docket No. 56] and
                the Order (I) Approving Joint Administration of Additional Cases Pursuant to Rule 1015(b)
                of the Federal Rules of Bankruptcy Procedure, (II) Applying Orders Previously Entered by
                the Court to the Additional Chapter 11 Cases, and (III) Granting Related Relief [Docket
                No. 342], respectively. Notwithstanding the joint administration of the Debtors’ cases for
                procedural purposes, each Debtor has filed its own Schedules and Statements. The
                information provided herein, except as otherwise noted, is reported as of the close of
                business on October 20, 2020.

         2.     Global Notes Control. These Global Notes and Statement of Limitations, Methodology,
                and Disclaimers Regarding the Debtors’ Schedules of Assets and Liabilities and
                Statements of Financial Affairs (the “Global Notes”) pertain to and comprise an integral
                part of each of the Debtors’ Schedules and Statements and should be referenced in
                connection with any review thereof. In the event that the Schedules and Statements conflict
                with these Global Notes, these Global Notes shall control.

         3.     Reservations and Limitations. Reasonable efforts have been made to prepare and file
                complete and accurate Schedules and Statements; however, as noted above, inadvertent
                errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
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             Schedules and Statements as may be necessary or appropriate. Nothing contained in the
             Schedules and Statements is intended to be, nor should it be construed as, a waiver of any
             of the Debtors’ rights or an admission of any kind with respect to these chapter 11 cases,
             including, but not limited to, any rights or claims of the Debtors against any third party or
             issues involving substantive consolidation, equitable subordination, or defenses or causes
             of action arising under the provisions of chapter 5 of the Bankruptcy Code or any other
             relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid transfers.
             Any specific reservation of rights contained elsewhere in the Global Notes does not limit
             in any respect the general reservation of rights contained in this paragraph.

             (a)    No Admission. Nothing contained in the Schedules and Statements is intended or
                    should be construed as an admission or stipulation of the validity of any claim
                    against the Debtors, any assertion made therein or herein, or a waiver of the
                    Debtors’ rights to dispute any claim or assert any cause of action or defense against
                    any party.

             (b)    Recharacterization. Notwithstanding that the Debtors have made reasonable
                    efforts to correctly characterize, classify, categorize, or designate certain claims,
                    assets, executory contracts, unexpired leases, and other items reported in the
                    Schedules and Statements, the Debtors nonetheless may have improperly
                    characterized, classified, categorized, or designated certain items. The Debtors thus
                    reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                    reported in the Schedules and Statements at a later time as is necessary and
                    appropriate.

             (c)    Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                    Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                    “executory” or “unexpired” does not constitute an admission by the Debtors of the
                    legal rights of the claimant or contract counterparty or a waiver of the Debtors’
                    rights to recharacterize or reclassify such claim or contract.

             (d)    Claims Description. Any failure to designate a claim on a given Debtor’s
                    Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtor that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
                    offsets or defenses to, any claim reflected on their respective Schedules and
                    Statements on any grounds, including, without limitation, liability or classification,
                    or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
                    “unliquidated” or object to the extent, validity, enforceability, priority, or
                    avoidability of any claim. Moreover, listing a claim does not constitute an
                    admission of liability by the Debtor against which the claim is listed or by any of
                    the Debtors. The Debtors reserve all rights to amend their Schedules and
                    Statements as necessary and appropriate, including, but not limited to, with respect
                    to claim description and designation.

             (e)    Estimates and Assumptions. The preparation of the Schedules and Statements
                    required the Debtors to make reasonable estimates and assumptions with respect to
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                     the reported amounts of assets and liabilities, the amount of contingent assets and
                     contingent liabilities on the date of the Schedules and Statements, and the reported
                     amounts of revenues and expenses during the applicable reporting periods. Actual
                     results may differ from such estimates.

              (f)    Causes of Action. Despite reasonable efforts, the Debtors may not have identified
                     all of their causes of action (filed or potential) against third parties as assets in their
                     Schedules and Statements, including, without limitation, avoidance actions arising
                     under chapter 5 of the Bankruptcy Code and actions under other relevant
                     bankruptcy and non-bankruptcy laws to recover assets. The Debtors reserve all
                     rights with respect to any causes of action, and nothing in these Global Notes or the
                     Schedules and Statements should be construed as a waiver of any such causes of
                     action.

              (g)    Intellectual Property Rights. Exclusion of certain intellectual property should not
                     be construed to be an admission that such intellectual property rights have been
                     abandoned, have been terminated or otherwise expired by their terms, or have been
                     assigned or otherwise transferred pursuant to a sale, acquisition, or other
                     transaction. Conversely, inclusion of certain intellectual property should not be
                     construed to be an admission that such intellectual property rights have not been
                     abandoned, have not been terminated or otherwise expired by their terms, or have
                     not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                     transaction.

              (h)    Insiders. In the circumstance where the Schedules and Statements require
                     information regarding “insiders” the Debtors have included information with
                     respect to the individuals who the Debtors believe are included in the definition of
                     “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
                     time periods. Such individuals may no longer serve in such capacities.

                     The listing of a party as an insider for purposes of the Schedules and Statements is
                     not intended to be, nor should it be, construed as an admission of any fact, right,
                     claim, or defense, and all such rights, claims, and defenses are hereby expressly
                     reserved. Information regarding the individuals listed as insiders in the Schedules
                     and Statements has been included for informational purposes only and such
                     information may not be used for the purposes of determining control of the Debtors;
                     the extent to which any individual exercised management responsibilities,
                     functions, or corporate decision-making authority over the Debtors; or whether
                     such individual could successfully argue that he or she is not an insider under
                     applicable law, including the Bankruptcy Code and federal securities laws, or with
                     respect to any theories of liability or any other purpose.

         4.   Methodology.Basis of Presentation. The Schedules and Statements do not purport to
              represent financial statements prepared in accordance with Generally Accepted
              Accounting Principles in the United States (“GAAP”), nor are they intended to be fully
              reconciled to the financial statements of each Debtor. The Schedules and Statements
              contain unaudited information that is subject to further review and potential adjustment. In
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             the ordinary course of business, the Debtors manage their business and review their books
             and records on a consolidated basis. However, the Schedules and Statements reflect the
             Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on an
             unconsolidated basis.

             (b)    Confidential Information. There may be instances in the Schedules and
                    Statements where the Debtors deemed it necessary and appropriate to omit from
                    the public record information such as individuals’ names and addresses. Typically,
                    the Debtors have used this approach because of an agreement between the Debtors
                    and a third party, concerns of confidentiality and protection of sensitive commercial
                    information (e.g., names of customers), or concerns for the privacy of an individual.

             (c)    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                    may properly be disclosed in response to multiple parts of the Statements and
                    Schedules. To the extent these disclosures would be duplicative, the Debtors have
                    determined to only list such assets, liabilities, and prepetition payments once.

             (d)    Date of Valuations. Except (i) as otherwise noted in the Schedules and Statements
                    and (ii) with respect to intercompany payables, which are listed in the Schedules
                    and Statements as of September 10, 2020, all liabilities are valued as of October 20,
                    2020. Further, except as otherwise noted, all assets are listed as of September 30,
                    2020.

             (e)    Net Book Value. In certain instances, current market valuations for individual
                    items of property and other assets are neither maintained by, nor readily available
                    to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                    and Statements reflect net book values as of September 30, 2020. Market values
                    may vary materially, from net book values. The Debtors believe that it would be
                    an inefficient use of estate assets for the Debtors to obtain the current market values
                    of their property. Accordingly, the Debtors have indicated in the Schedules and
                    Statements that the values of certain assets and liabilities are undetermined. Also,
                    assets that have been fully depreciated or that were expensed for accounting
                    purposes either do not appear in these Schedules and Statements or are listed with
                    a zero-dollar value, as such assets have no net book value. The omission of an asset
                    from the Schedules and Statements does not constitute a representation regarding
                    the ownership of such asset, and any such omission does not constitute a waiver of
                    any rights of the Debtors with respect to such asset.

             (f)    Property and Equipment. Unless otherwise indicated, owned property and
                    equipment are valued at net book value. The Debtors may lease furniture, fixtures,
                    and equipment from certain third-party lessors. To the extent possible, any such
                    leases are listed in the Schedules and Statements. Nothing in the Schedules and
                    Statements is, or should be construed as, an admission as to the determination of
                    the legal status of any lease (including whether any lease is a true lease or a
                    financing arrangement), and the Debtors reserve all rights with respect thereto.



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             (g)    Allocation of Liabilities. Except where otherwise noted, the Debtors allocated
                    liabilities between the prepetition and postpetition periods based on the information
                    and research conducted in connection with the preparation of the Schedules and
                    Statements. As additional information becomes available and further research is
                    conducted, the allocation of liabilities between the prepetition and postpetition
                    periods may change.

             (h)    Undetermined Amounts. The description of an amount as “undetermined” or
                    “unknown” is not intended to reflect upon the materiality of such amount.

             (i)    Unliquidated Amounts. Amounts that could not be fairly quantified by the
                    Debtors are scheduled as “unknown” or “unliquidated.”

             (j)    Totals. All totals that are included in the Schedules and Statements represent totals
                    of all known amounts. To the extent there are unknown or undetermined amounts,
                    the actual total may be different than the listed total.

             (k)    Paid Claims. The Debtors have authority to pay certain outstanding prepetition
                    payables pursuant to certain orders of the Court; as such, outstanding liabilities may
                    have been reduced by any court-approved postpetition payments made on account
                    of prepetition payables. To the extent the Debtors later pay any amount of the
                    claims listed in the Schedules and Statements pursuant to an order of the Court, the
                    Debtors reserve all rights to amend or supplement the Schedules and Statements or
                    to take other action, such as filing claims objections or notices of satisfaction, as is
                    necessary and appropriate to avoid overpayment or duplicate payments for
                    liabilities. Nothing contained herein should be deemed to alter the rights of any
                    party in interest to contest a payment made pursuant to an order of the Court where
                    such order preserves the right to contest.

             (l)    Intercompany Claims. Receivables and payables among the Debtors and among
                    the Debtors and their non-Debtor affiliates are reported as of September 30, 2020
                    on Schedule A/B and Schedule E/F, respectively, per the Debtors’ unaudited books
                    and records. The listing of any amounts with respect to such receivables and
                    payables is not, and should not be construed as, an admission of the characterization
                    of such balances as debt, equity, or otherwise. For the avoidance of doubt, the
                    Debtors reserve all rights, claims, and defenses in connection with any and all
                    intercompany receivables and payables, including with respect to the
                    characterization of intercompany claims, loans, and notes. Due to historical
                    accounting practices, the Debtors may have been unable to ascertain with precision
                    certain intercompany balances among specific Debtors and among Debtors and
                    non-Debtor affiliates. As a result, the intercompany balances listed on Schedules
                    A/B or E/F may vary from the Debtors’ audited financial statements. These
                    balances have been calculated consistent with historical practice and the Final
                    Order (I) Authorizing Debtors to (A) Continue Operating Existing Cash
                    Management System,(B) Honor Certain Prepetition Obligations Related
                    Thereto,(C) Maintain Existing Business Forms, and (D) Continue to Perform
                    Intercompany Transactions, and (II) Granting Related Relief [Docket No. 221]
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                     (the “Cash Management Order”). The Debtors reserve their rights, but are not
                     required, to amend the Schedules and Statements if additional balances are
                     identified. Generally, the intercompany balances relate to transfer of revenues from
                     TSI Cash Management, LLC and for services provided by Town Sports
                     International, LLC and TSI Cash Management, LLC per an intercompany
                     agreement. In the ordinary course of business, practically all company transactions,
                     including revenue, credit card transactions, and employee payments generate
                     intercompany claims. As such, the Debtors have not listed each such transaction,
                     but have instead included the monthly activity between Debtor entities and between
                     Debtor and non-Debtor entities in the Statements, Part 2, Question 4, as indicated
                     below.

              (m)    Excluded Assets and Liabilities. The Debtors have excluded the following
                     categories of assets and liabilities from the Schedules and Statements: certain
                     deferred charges, accounts, or reserves recorded only for purposes of complying
                     with the requirements of GAAP; deferred tax assets and liabilities; and certain
                     intangibles; certain deferred revenue accounts that are recorded solely for
                     accounting purposes; and certain accrued liabilities including, but not limited to,
                     accrued salaries and employee benefits. Other immaterial assets and liabilities may
                     also have been excluded.

              (n)    Liens. The inventories, property, and equipment listed in the Schedules and
                     Statements are presented without consideration of any liens.

              (o)    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

              (p)    Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
                     course of business. Such setoffs and nettings may occur due to a variety of
                     transactions or disputes including, but not limited to, intercompany transactions,
                     counterparty settlements, pricing discrepancies, promotions, refunds, and
                     negotiations and/or disputes between Debtors and their customers and/or suppliers.
                     These normal, ordinary course setoffs and nettings are common to the health club
                     industry. Due to the voluminous nature of setoffs and nettings, it would be unduly
                     burdensome and costly for the Debtors to list each such transaction. Therefore,
                     although such setoffs and other similar rights may have been accounted for when
                     scheduling certain amounts, these ordinary course setoffs are not independently
                     accounted for and, as such, are or may be excluded from the Debtors’ Schedules
                     and Statements. In addition, some amounts listed in the Schedules and Statements
                     may have been affected by setoffs or nettings by third parties of which the Debtors
                     are not yet aware. The Debtors reserve all rights to challenge any setoff and/or
                     recoupment rights that may be asserted.

         5.   Specific Schedules Disclosures.

              (a)    Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
                     Prepayments. Details with respect to the Debtors’ cash management system and
                     bank accounts are provided in the Motion of Debtors for Interim and Final Orders
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                    (I) Authorizing Debtors to (A) Continue Operating Existing Cash Management
                    System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
                    Existing Business Forms, and (D) Continue to Perform Intercompany
                    Transactions, and (II) Granting Related Relief [Docket No. 10]
                    (the “Cash Management Motion”) and the Cash Management Order. The
                    balances of the financial accounts listed on Schedule A/B, Part 1, are listed as of
                    September 30, 2020.

                    Additionally, the Debtors have provided adequate assurance of payment for future
                    utility services to certain counterparties, pursuant to the Final Order, Pursuant to
                    Sections 105(a) and 366 of the Bankruptcy Code, (I) Prohibiting Utility Companies
                    from Altering, Refusing, or Discontinuing Utility Services, (II) Deeming Utility
                    Companies Adequately Assured of Future Payment, (III) Establishing Procedures
                    for Determining Additional Adequate Assurance of Payment, (IV) Granting Certain
                    Related Relief; and (V) Setting a Final Hearing Related Thereto [Docket No. 261];
                    however, such deposits are not listed on Schedule A/B, Part 2, which has been
                    prepared as of September 30, 2020.

             (b)     Schedule A/B Part 3 Accounts Receivable. The Debtors’ accounts receivable
                    information includes receivables from the Debtors’ members, vendors, or third
                    parties, and include any amounts that, as of September 30, 2020, may be owed to
                    such parties in the form of offsets or other adjustments pursuant to the Debtors’
                    day-to-day operations or may, in the Debtors’ opinion, be difficult to collect from
                    such parties due to the passage of time or other circumstances. In the ordinary
                    course of business, the Debtors record amounts related to uncollectible accounts on
                    a consolidated basis in the books and records of Town Sports International, LLC.
                    After accounting for uncollectible accounts, the net value of accounts receivable
                    recorded at Town Sports International, LLC is zero. The Debtors indicate the age
                    of accounts receivables in the Schedules for the applicable Debtor. The gross
                    accounts receivable balances in Schedule A/B, Part 3 exclude intercompany
                    receivables. The Debtors historically have tracked intercompany transactions and
                    continue to track such intercompany transactions on a post-petition, Debtor-by-
                    Debtor basis.

             (c)    Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
                    Collectibles. Dollar amounts are presented net of accumulated depreciation and
                    other adjustments as of September 30, 2020.

             (d)    Schedule A/B, Part 8 – Automobiles, vans, trucks, motorcycles, trailers; and
                    Machinery, fixtures, equipment, and supplies used in business. Dollar amounts
                    are presented net of accumulated depreciation and other adjustments as of
                    September 30, 2020.

             (e)    Schedule A/B, Part 9 – Real Property. Actual realizable values of the identified
                    leasehold improvements may vary significantly relative to net book values as of
                    September 30, 2020 and exclude potential impairments realized subsequent to June
                    2020 with respect to leasehold improvements, etc.
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             (f)    Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Debtors
                    have identified intangible assets as of September 30, 2020. The Debtors have not
                    listed the value of certain of such assets because the values reflected in the Debtors’
                    books and records may not accurately reflect such assets’ value in the marketplace.
                    Due to the need to protect confidential information and individual privacy, the
                    Debtors have not furnished any customer lists on their Schedules.

             (g)    Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
                    impairments and other adjustments as of September 30, 2020. The Debtors have
                    listed their intercompany receivable balances in Schedule A/B, Part 11.

                    Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
                    Including Counterclaims of the Debtor and Rights to Setoff Claims. In the
                    ordinary course of their business, the Debtors may have accrued, or may
                    subsequently accrue, certain rights to counterclaims, crossclaims, setoffs, refunds
                    with their customers and vendors. Additionally, certain of the Debtors may be party
                    to pending litigation in which the Debtors have asserted, or may assert, claims as a
                    plaintiff or counterclaims and/or crossclaims as a defendant. Because certain of
                    these claims are unknown to the Debtors and not quantifiable as of the Initial
                    Petition Date, they may not be listed on Schedule A/B, Part 11.

                    Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
                    policies and related information is available in the Debtors’ Motion Seeking Entry
                    of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Their
                    Obligations Under Insurance Policies Entered into Prepetition, (B) Continue to
                    Pay Brokerage Fees, (C) Renew, Supplement, Modify, or Purchase Insurance
                    Coverage, (D) Continue to Pay Workers’ Compensation Coverage Fees,
                    (E) Maintain the Surety Bonds, and (F) Honor the Terms of the Financing
                    Agreement and Pay Premiums Thereunder and (II) Granting Related Relief
                    [Docket No. 20] and have NOT been listed on Schedule A/B for each Debtor.

                    Executory Contracts and Unexpired Leases. Because of the large number of the
                    Debtors’ executory contracts and unexpired leases, as well as the size and scope of
                    such documents, the Debtors have not attached such agreements to Schedule A/B.

             (h)    Schedule D – Creditors Who Have Claims Secured by Property. Except as
                    otherwise agreed pursuant to a stipulation or order entered by the Court, the Debtors
                    reserve their rights to dispute or challenge the validity, perfection, or immunity
                    from avoidance of any lien purported to be granted or perfected in any specific asset
                    to a secured creditor listed on Schedule D. Moreover, unless otherwise agreed or
                    ordered by the Court, the Debtors reserve all rights to dispute or challenge the
                    secured nature of any such creditor’s claim or the characterization of the structure
                    of any such transaction or any document or instrument related to such creditor’s
                    claim.

                    The descriptions provided in Schedule D are intended only to be a summary.
                    Reference to the applicable agreements and other related relevant documents is
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                    necessary for a complete description of the collateral and the nature, extent, and
                    priority of any liens. In certain instances, a Debtor may be a co-obligor,
                    co-mortgagor, or guarantor with respect to scheduled claims of other Debtors, and
                    no claim set forth on Schedule D of any Debtor is intended to acknowledge claims
                    of creditors that are otherwise satisfied or discharged by other entities.

                    The Debtors have included on Schedule D parties who may, to the best of the
                    Debtors’ knowledge, believe their claims are secured through setoff rights or
                    inchoate statutory lien rights.

                    The Debtors are party to a postpetition financing facility pursuant as further
                    described and approved by the Court in the Final Order (I) Authorizing the Debtors
                    to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash
                    Collateral, (III) Granting Liens and Providing Superpriority Administrative
                    Expense Status, (IV) Granting Adequate Protection to the Prepetition Lenders,
                    (V) Modifying the Automatic Stay, and (VI) Granting Related Relief [Docket
                    No. 277] (the “Final DIP Order”). Although there are multiple parties that hold a
                    portion of the Prepetition Debt, only the administrative agents have been listed for
                    purposes of Schedule D.

             (i)    Schedule E/F – Creditors Who Have Unsecured Claims.

                    (i)    Part 1 – Creditors with Priority Unsecured Claims.

                           (A)     Priority Tax Claims: Pursuant to the Final Order, Pursuant to
                                   Sections 105(a), 363(b), 507(a)(8), 541, 1107(a) and 1108 of the
                                   Bankruptcy Code, (I) Authorizing the Debtors to Pay Certain
                                   Prepetition Taxes and Fees and Related Obligations,
                                   (II) Authorizing Banks to Honor and Process Check and Electronic
                                   Transfer Requests Related Thereto, and (III) Scheduling a Final
                                   Hearing [Docket No. 198] (the “Taxes Order”), the Debtors have
                                   been granted the authority to pay, in their discretion, certain tax
                                   liabilities that accrued prepetition. Accordingly, any unsecured
                                   priority claims based upon prepetition tax accruals that have been
                                   paid pursuant to the Taxes Order are not listed on Schedule E.

                           (B)     Employee Claims: Pursuant to the Final Order, Pursuant to
                                   Sections 105(a), 363(b), 507(a)(4) and 507(a)(5) of the Bankruptcy
                                   Code, (A) Authorizing (I) Payment of Prepetition Employee Wages,
                                   Salaries and Other Compensation; (II) Payment of Prepetition
                                   Employee Business Expenses; (III) Contributions to Prepetition
                                   Employee Benefit Programs and Continuation of Such Programs in
                                   the Ordinary Course; (IV) Payment of Workers Compensation
                                   Obligations; (V) Payments for Which Prepetition Payroll
                                   Deductions Were Made; (VI) Payment of all Costs and Expenses
                                   Incident to the Foregoing Payments and Contributions; and
                                   (VII) Payment to Third Parties of all Amounts Incident to the
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                             Foregoing Payments and Contributions; and (B) Authorizing Banks
                             to Honor and Process Check and Electronic Transfer Requests
                             Related Thereto [Docket No. 199] (the “Wages Order”) the
                             Debtors received final authority to pay certain prepetition
                             obligations, including to pay employee wages and other employee
                             benefits, in the ordinary course of business. The Debtors believe
                             that any non-insider employee claims for prepetition amounts
                             related to ongoing payroll and benefits, whether allowable as a
                             priority or nonpriority claim, have been or will be satisfied, and such
                             satisfied amounts are not listed.

                             The listing of a claim on Schedule E/F, Part 1, does not constitute
                             an admission by the Debtors that such claim or any portion thereof
                             is entitled to priority status.

              (ii)   Part 2 – Creditors with Nonpriority Unsecured Claims. Except for
                     intercompany payables, which are listed as of September 30, 2020, the
                     liabilities identified on Schedule E/F, Part 2, are derived from the Debtors’
                     books and records and are listed as of October 20, 2020. The Debtors have
                     made a reasonable attempt to verify their unsecured obligations, although
                     the actual amount of claims against the Debtors may vary from those
                     liabilities represented on Schedule E/F, Part 2. The listed liabilities may not
                     reflect the correct amount of any unsecured creditor’s allowed claims or the
                     correct amount of all unsecured claims.

              The Debtors generally allocate individual liabilities to particular
              Debtors. However, in certain cases, it would be a time-consuming and inefficient
              use of estate resources, or impracticable, to assign a given liability to a particular
              Debtor based on a contractual obligation. Instead, Schedule E/F, Part 2, reflects the
              liability as recorded in the Debtors’ books and records unless otherwise specified
              herein.

              Schedule E/F, Part 2, contains information regarding threatened or pending
              litigation involving the Debtors. The amounts for these potential claims are listed
              as “undetermined” and are marked as contingent, unliquidated, and disputed in the
              Schedules and Statements. The Debtors have not listed potential claims as a result
              of demand letters received from potential litigants given the purely speculative
              nature of such potential claims.

              Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
              to executory contracts and unexpired leases. Such prepetition amounts, however,
              may be paid in connection with the assumption or assumption and assignment of
              an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
              not include claims that may arise in connection with the rejection of any executory
              contract or unexpired lease, if any, that may be or have been rejected.



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                         In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
                         incurred on various dates or on a date or dates that are unknown to the Debtors or
                         are subject to dispute. Where the determination of the date on which a claim arose,
                         accrued, or was incurred would be unduly burdensome and costly to the Debtors’
                         estates, the Debtors have not listed a specific date or dates for such claim.

                         As of the date hereof, the Debtors have not received all invoices for payables,
                         expenses, and other liabilities that may have accrued prior to the Initial Petition
                         Date. Accordingly, the information contained in Schedules D and E/F may be
                         incomplete. The Debtors reserve their rights, but undertake no obligation, to amend
                         Schedules D and E/F if and as they receive additional prepetition invoices.

                         Potential Customer Claims; Earned Revenue; Impact of COVID-19. The
                         Debtors have nearly one million current members and Former Members2
                         (collectively, the “Customers”). The Debtors cannot reasonably foresee or
                         estimate Customer claims, but have made a good-faith effort to list an aggregate
                         Customer liability based solely on the Debtors books and records. Listing amounts
                         on an individual basis would be, to the extent possible, speculative, cost prohibitive,
                         unduly burdensome, and would cause the Schedules to become unwieldy and
                         voluminous. The aggregate Customer claim number is highly speculative and the
                         facts surrounding any Customer claims will likely be Customer specific. Amounts
                         included to reach the estimated claim amount include amounts that are or will likely
                         be satisfied in the ordinary course of business.

                         The Debtors have not listed membership fees or any other fees and associated
                         payments in their Schedules where such amounts are deemed earned upon receipt,
                         whether or not such amounts are shown on the Debtors books and records as earned
                         upon receipt or earned over a period of time in accordance with GAAP or other
                         accounting protocol.

                         The Debtors believe the estimated Customer claims amount likely overstate any
                         actual claims, which amounts cannot be determined with reasonable certainty at
                         this time. Because of the COVID-19 pandemic and related gym closures, the
                         Debtors have experienced seven times the rate of historical credit card chargebacks
                         associated with membership cancellation and refund requests. Aside from credit
                         card chargebacks, Customers continue to seek refund requests associated with
                         membership cancellation both in person at the club level and at the administrative
                         level. Such chargebacks, once fully reconciled, likely reduce any potential
                         Customer claims reflected on the Debtors’ books and records. As such, any
                         estimate of Customer claims as of the Initial Petition Date likely does not reflect
                         actual Customer liabilities.

                         For the reasons described herein, the Debtors have listed their estimated maximum
                         possible liability for claims associated with refunds and cancellations on an

         2“Former Members” include the Debtors’ members who have cancelled their membership within one year of the
         Petition Date.
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                    aggregate basis in the Schedules of Town Sports International, LLC. The Debtors
                    believe that the amount of such claims has been accounted for in the budget
                    associated with their postpetition financing and such claims will be resolved in the
                    ordinary course after the Debtors are able to perform a complete reconciliation of
                    such claims. The Debtors encourage any Customer who believes that he or she has
                    a claim associated with a refund for membership cancellation to file a proof of claim
                    in the Debtors’ cases on account of such claim.

                    Certain of the Debtors’ Customers may have purchased prepaid products such as
                    personal training and swim sessions, and other ancillary services (collectively, the
                    “Ancillary Services”). The Debtors believe that certain of the Ancillary Services
                    will either be honored on a go-forward basis or have been forfeited pursuant to
                    existing policies governing such Ancillary Services and have not listed amounts
                    corresponding to such services in their Schedules. Where it is uncertain or
                    improbable that any of the Ancillary Services will be honored due to the closure of
                    a club or otherwise, the Debtors have listed the maximum liability associated with
                    such potential claims on an aggregate basis in Schedule E/F, as it would be
                    impractical and unduly burdensome to list such claims on an individual basis as of
                    the Initial Petition Date.

                    The listing of a claim on Schedule E/F does not constitute an admission by the
                    Debtors that such claim or any portion thereof is entitled to priority status either as
                    a deposit or otherwise and the Debtors expressly reserve their rights to contest the
                    characterization of any such claim.

             (j)    Schedule G – Executory Contracts and Unexpired Leases. While reasonable
                    efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                    omissions may have occurred.

                    Listing a contract or agreement on Schedule G does not constitute an admission
                    that such contract or agreement is an executory contract or unexpired lease, that
                    such contract or agreement was in effect on the Initial Petition Date, or that such
                    contract or agreement is valid or enforceable. The Debtors hereby reserve all rights
                    to dispute the validity, status, or enforceability of any contracts, agreements, or
                    leases set forth on Schedule G and to amend or supplement such Schedule as
                    necessary. Certain of the leases and contracts listed on Schedule G may contain
                    renewal options, guarantees of payment, indemnification obligations, options to
                    purchase, rights of first refusal, and other miscellaneous rights. Such rights,
                    powers, duties, and obligations are not set forth separately on Schedule G. In
                    addition, the Debtors may have entered into other types of agreements in the
                    ordinary course of their business, such as supplemental agreements and letter
                    agreements, which documents may not be set forth on Schedule G. Moreover, to
                    the extent any agreements are governed by a master services agreement, the Debtors
                    have endeavored to list the master services agreement on Schedule G. The Debtors
                    have made reasonable efforts to identify the Debtor entity for each contract, and, in
                    instances where this could not be determined, the contract is listed on the Schedules
                    of Town Sports International, LLC.
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                     In the ordinary course of business, the Debtors have entered into numerous
                     agreements, both written and oral, regarding the provision of certain services on a
                     month-to-month or at-will basis, as well as purchase orders and statements of work.
                     Not only would it be unduly burdensome and cost-prohibitive to list such
                     agreements in Schedule G, the Debtors also do not believe that such agreements
                     constitute executory contracts and, therefore, such agreements are not listed
                     individually on Schedule G.

                     The description of any contract on Schedule G does not constitute an admission by
                     the Debtors as to the characterization of such contract. The Debtors reserve all
                     rights to dispute or challenge the characterization of any transaction or any
                     document or instrument related to a creditor’s claim.

                     In some cases, the same counterparty may appear multiple times on Schedule G.
                     Multiple listings, if any, reflect distinct agreements between the applicable Debtor
                     and such counterparty.

                     The listing of any contract on Schedule G does not constitute an admission by the
                     Debtors as to the validity of any such contract. The Debtors reserve the right to
                     dispute the effectiveness of any such contract listed on Schedule G or to amend
                     Schedule G at any time to remove any contract.

                     Omission of a contract or agreement from Schedule G does not constitute an
                     admission that such omitted contract or agreement is not an executory contract or
                     unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                     any such omitted contracts or agreements are not impaired by the omission.

              (k)    Schedule H – Co-Debtors. The Debtors have listed their prepetition loan facilities
                     as a co-Debtor obligation on Schedule H. More information about the Debtors’
                     postpetition financing facility is contained in the Final DIP Order. The Debtors
                     reserve all rights to amend Schedule H to the extent that guarantees associated with
                     the Debtors’ executory contracts, unexpired leases, secured financings, debt
                     instruments, and other agreements are identified.

         6.   Specific Statements Disclosures.

              (a)    Statements, Part 1, Questions 1 and 2 – Miscellaneous Revenue. This section
                     may include negative values, which represents reductions to revenue due to
                     customer refunds.

              (b)    Statements, Part 1, Question 2 – Income from other than Operations. Values
                     listed in this section include revenue regardless of whether that revenue is taxable.
                     Non-business income may include interest, dividends, or money collected. Certain
                     types of revenue such as revenue derived from marketing and vending, is reviewed
                     on a consolidated basis and then allocated among each debtor entity. Amounts are
                     listed as each debtor’s allocable share of such revenue.


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             (c)    Statements, Part 2, Question 4 – Payments to Certain Creditors. As more fully
                    described in the Cash Management Motion, the Debtors recorded numerous
                    intercompany transactions in their books and records periodically, including journal
                    entries. Such transactions include each and every credit card transaction and/or
                    other operational administrative expenses. Instead of listing each of these
                    numerous transactions and entries in their Statements and Schedules for each
                    month, the Debtors have included the monthly activity between Debtor entities and
                    between Debtor and non-Debtor entities. Depending on when the transactions were
                    recorded, the monthly balances may include transactions that occurred in prior
                    months and may contain reconciling differences. As a result of the structure of the
                    cash management systems, the cash transactions may appear inflated as the money
                    flows through different Debtor accounts. These cash transactions are also recorded
                    in the monthly activity listing in the Debtors’ books and records.

             (d)    Statements, Part 5, Question 10 – Certain Losses. Given the scale of the
                    Debtors’ club footprint, the Debtors incur certain immaterial losses in the ordinary
                    course of business. Such amounts are not listed in the Statements.

             (e)    Statements, Part 6, Question 11 – Payments Related to Bankruptcy. All
                    payments for services of any entities that provided consultation concerning debt
                    restructuring services, relief under the Bankruptcy Code, or preparation of a petition
                    in bankruptcy within one year immediately preceding the Initial Petition Date were
                    made by Town Sports International, LLC and are, therefore, listed on that Debtor’s
                    Statements. The Debtors have endeavored to list only payments made for debt
                    restructuring services, however, in some instances, these balances may include
                    payments for services not related to restructuring or bankruptcy matters. Additional
                    information regarding the Debtors’ retention of professionals is more fully
                    described in the individual retention applications for those professionals.

             (f)    Statements, Part 9, Question 16 – Personally Identifiable Information. The
                    Debtors collect a limited amount of information from club members and guests,
                    including personally identifiable information, via their website portals, over the
                    telephone, or in person in order to provide services to members and guests and
                    inform them of new products and services. Examples of the types of information
                    collected by the Debtors include, among other things, mailing addresses, email
                    addresses, phone number, names, and credit card information. The Debtors retain
                    such information as long as is necessary for the Debtors to comply with business,
                    tax, and legal requirements. The Debtors maintain privacy policies and have
                    information security protocols to safeguard personally identifiable information.

             (g)    Statements, Part 10, Question 20 - Certain Financial Accounts, Safe Deposit
                    Boxes, and Storage Units. Given the Debtors’ substantial club footprint, the
                    Debtors have listed only their offsite document storage locations.




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             (h)    Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
                    The Debtors provide certain parties, such as banks, factors, auditors, potential
                    investors, vendors, and financial advisors, with financial statements. The Debtors
                    do not maintain complete lists or other records tracking such disclosures.
                    Therefore, the Debtors have not provided full lists of these parties in Part 13,
                    Question 26 of the Statements.




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  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


 Case number           20-12657
  (if known)
                                                                                                                                                                            ¨ Check if this is an
                                                                                                                                                                               amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                    12/15



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                      $0.00
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                                  $1,696.35
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                                  $1,696.35
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                            $167,163,283.26
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                UNKNOWN
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +            $298,507.65




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                            $167,461,790.91
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                  Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


 Case number          20-12657
  (if known)
                                                                                                                            ¨ Check if this is an
                                                                                                                               amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       þ       No. Go to Part 2.
       ¨       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                    Current value of
                                                                                                                            debtor’s interest

 2.    CASH ON HAND

 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)

 4.    OTHER CASH EQUIVALENTS

 5     Total of Part 1.
       ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                            NOT APPLICABLE
       TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.    DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
       þ       No. Go to Part 3.
       ¨       Yes. Fill in the information below.


                                                                                                                            Current value of
                                                                                                                            debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT

 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT

 9     Total of Part 2.
       ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                       NOT APPLICABLE




Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                Page 1 of 7
 Debtor                         Case 20-12168-CSS
             TSI Lucille Jersey City, LLC                         Doc 622        Filed Case
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             (Name)


 Part 3:     ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨     No. Go to Part 4.
      þ     Yes. Fill in the information below.


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest

 11. ACCOUNTS RECEIVABLE
      90 DAYS OR LESS                                $1,696.35                                   $0.00      = è                                $1,696.35
                                                                  -
                                                    face amount       doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                   $1,696.35


 Part 4:     INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ     No. Go to Part 5.
      ¨     Yes. Fill in the information below.


                                                                                                           Valuation method used   Current value of
                                                                                                           for current value       debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:

 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
     OR JOINT VENTURE

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:

 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                             NOT APPLICABLE


 Part 5:     INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ     No. Go to Part 6.
      ¨     Yes. Fill in the information below.



          General description                         Date of the last        Net book value of            Valuation method used   Current value of
                                                      physical inventory      debtor's interest            for current value       debtor’s interest
                                                                              (Where available)

 19. RAW MATERIALS

 20. WORK IN PROGRESS

 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE

 22. OTHER INVENTORY OR SUPPLIES

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                             NOT APPLICABLE

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                           Page 2 of 7
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              (Name)


 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes      Book value                      Valuation method                                                     Current value

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                              Net book value of      Valuation method used    Current value of
                                                                           debtor's interest      for current value        debtor’s interest
                                                                           (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH

 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
     THAN TITLED MOTOR VEHICLES)

 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED

 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6

 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                     NOT APPLICABLE

 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          ¨ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      ¨     No. Go to Part 8.
      þ     Yes. Fill in the information below.



          General description                                              Net book value of      Valuation method used    Current value of
                                                                           debtor's interest      for current value        debtor’s interest
                                                                           (Where available)

 39. OFFICE FURNITURE
      NONE

 40. OFFICE FIXTURES
      NONE

 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE
      41.1.       COMPUTER HARDWARE                                                       $0.00   COST                                     $0.00



Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                   Page 3 of 7
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          General description                                                 Net book value of     Valuation method used    Current value of
                                                                              debtor's interest     for current value        debtor’s interest
                                                                              (Where available)

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR OTHER
     ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND CRYSTAL; STAMP,
     COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS, MEMORABILIA, OR
     COLLECTIBLES
      NONE

 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                    $0.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     ¨ No
     þ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:      MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      ¨     No. Go to Part 9.
      þ     Yes. Fill in the information below.


          General description                                                 Net book value of     Valuation method used    Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest     for current value        debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES
      NONE

 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
     TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
     VESSELS
      NONE

 49. AIRCRAFT AND ACCESSORIES
      NONE

 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
     EQUIPMENT)
      50.1.       EXERCISE EQUIPMENT - TREADMILLS, BIKES, FREE                              $0.00   COST                                     $0.00
                  WEIGHTS, CROSS TRAINERS, ETC.
 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                    $0.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨ No
     þ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:      REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      ¨     No. Go to Part 10.
      þ     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST




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 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property          Nature and extent   Net book value of      Valuation method used    Current value of
          Include street address or other description   of debtor’s         debtor's interest      for current value        debtor’s interest
          such as Assessor Parcel Number (APN), and     interest in         (Where available)
          type of property (for example, acreage,       property
          factory, warehouse, apartment or office
          building), if available

      55.1.       LEASEHOLD IMPROVEMENTS                                                   $0.00   COST                                     $0.00

 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                 $0.00
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     ¨ No
     þ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      þ     No. Go to Part 11.
      ¨     Yes. Fill in the information below.



          General description                                               Net book value of      Valuation method used    Current value of
                                                                            debtor's interest      for current value        debtor’s interest
                                                                            (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

 61. INTERNET DOMAIN NAMES AND WEBSITES

 62. LICENSES, FRANCHISES, AND ROYALTIES

 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY

 65. GOODWILL

 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                      NOT APPLICABLE


 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      þ     No. Go to Part 12.
      ¨     Yes. Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor’s interest

 71. NOTES RECEIVABLE


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                                                                                                                                                            Current value of
                                                                                                                                                            debtor’s interest

 71. NOTES RECEIVABLE
       DESCRIPTION (INCLUDE NAME OF OBLIGOR)

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)

 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES

 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS

 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP

 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                                     NOT APPLICABLE


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


 81. Deposits and prepayments. Copy line 9, Part 2.


 82. Accounts receivable. Copy line 12, Part 3.                                                              $1,696.35


 83. Investments. Copy line 17, Part 4.


 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.


 86. Office furniture, fixtures, and equipment; and collectibles.                                                 $0.00
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $0.00

 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                    $0.00


 89. Intangibles and intellectual property. Copy line 66, Part 10.


 90. All other assets. Copy line 78, Part 11.                                             +

 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                                    $1,696.35       + 91b.                 $0.00




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 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $1,696.35




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                                  Page 7 of 7
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  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


 Case number          20-12657
  (if known)
                                                                                                                                            ¨ Check if this is an
                                                                                                                                               amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       ¨       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       þ       Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

 2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than           Column A                     Column B
       one secured claim, list the creditor separately for each claim.                                         Amount of claim              Value of collateral that
                                                                                                               Do not deduct the value of   supports this claim
                                                                                                               collateral.

 2.1            Creditor’s name                                   Describe debtor’s property that is                 $167,163,283.26             UNKNOWN
                DEUTSCHE BANK AG, NEW YORK BRANCH                 subject to a lien
                                                                  SUBSTANTIALLY ALL ASSETS AND
                Creditor's mailing address
                                                                  PROPERTY
                AS ADMINISTRATIVE AGENT
                C/O GIBSON, DUNN & CRUTCHER LLP                   Describe the lien
                200 PARK AVENUE                                   LOAN AGREEMENT, DATED AS OF
                NEW YORK, NY 10166                                NOVEMBER 15, 2013
                Creditor's email address                          Is the creditor an insider or related
                                                                  party?
                Date or dates debt was incurred
                                                                  þ No
                Last 4 digits of account number:                  ¨ Yes
                                                              Is anyone else liable on this claim?
                Do multiple creditors have an interest in the
                                                              ¨ No
                same property?
                                                              þ Yes
                þ No
                ¨ Yes                                         As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                  ¨ Contingent
                                                                  ¨ Unliquidated
                                                                  ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                          $167,163,283.26
          Additional Page, if any.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


 Case number          20-12657
  (if known)
                                                                                                                                ¨ Check if this is an
                                                                                                                                   amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                             12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                 Total claim        Priority amount

 2.1            Priority creditor’s name and mailing address As of the petition filing date, the claim is:           UNKNOWN              UNKNOWN
                                                                Check all that apply.
                CALIFORNIA BOARD OF EQUALIZATION
                450 N ST                                        þ Contingent
                PO BOX 942879                                   þ Unliquidated
                SACRAMENTO, CA 95814                            þ Disputed
                Date or dates debt was incurred                 Basis for the claim:
                                                                POTENTIAL TAX LIABILITY
                Last 4 digits of account number:                Is the claim subject to offset?
                Specify Code subsection of PRIORITY             þ No
                unsecured claim: 11 U.S.C. § 507(a) (8)         ¨ Yes

 2.2            Priority creditor’s name and mailing address As of the petition filing date, the claim is:           UNKNOWN              UNKNOWN
                                                                Check all that apply.
                CALIFORNIA FRANCHISE TAX BOARD
                BANKRUPTCY SECTION MS A340                      þ Contingent
                PO BOX 2952                                     þ Unliquidated
                SACRAMENTO, CA 95812-2952                       þ Disputed
                Date or dates debt was incurred                 Basis for the claim:
                                                                POTENTIAL TAX LIABILITY
                Last 4 digits of account number:                Is the claim subject to offset?
                Specify Code subsection of PRIORITY             þ No
                unsecured claim: 11 U.S.C. § 507(a) (8)         ¨ Yes

 2.3            Priority creditor’s name and mailing address As of the petition filing date, the claim is:           UNKNOWN              UNKNOWN
                                                                Check all that apply.
                CITY OF PHILADELPHIA
                5900 TORRESDALE AVENUE                          þ Contingent
                REVENUE COLLECTION BUREAU                       þ Unliquidated
                PHILADELPHIA, PA 19135                          þ Disputed
                Date or dates debt was incurred                 Basis for the claim:
                                                                POTENTIAL TAX LIABILITY
                Last 4 digits of account number:                Is the claim subject to offset?
                Specify Code subsection of PRIORITY             þ No
                unsecured claim: 11 U.S.C. § 507(a) (8)         ¨ Yes




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  Part 1:   Additional Page

                                                                                                               Total claim      Priority amount

 2.4        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CITY OF PHILADELPHIA
            CODE VIOLATION ENFORCEMENT DIVISION            þ Contingent
            DEPT OF FINANCE                                þ Unliquidated
            P.O. BOX 56318                                 þ Disputed
            PHILADELPHIA, PA 19130                         Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.5        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CITY OF PHILADELPHIA
            DEPARTMENT OF REVENUE                          þ Contingent
            P.O. BOX 806                                   þ Unliquidated
            PHILADELPHIA, PA 19105-0806                    þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.6        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CITY OF PHILADELPHIA
            DEPARTMENT OF STREETS                          þ Contingent
            P.O. BOX 966                                   þ Unliquidated
            PHILA, PA 19105-0966                           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.7        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CITY OF PHILADELPHIA
            DEPT OF REVENUE                                þ Contingent
            PO BOX 1049                                    þ Unliquidated
            PHILADELPHIA, PA 19105-9731                    þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.8        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CITY OF PHILADELPHIA
            LICENSE ISSUENCE UNIT                          þ Contingent
            P.O. BOX 1942                                  þ Unliquidated
            PHILADELPHIA, PA 19105-1942                    þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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  Part 1:   Additional Page

                                                                                                               Total claim      Priority amount

 2.9        Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CITY OF PHILADELPHIA
            PARKING VIOLATIONS BRANCH                      þ Contingent
            P.O. BOX 41818                                 þ Unliquidated
            PHILADELPHIA, PA 19101-1818                    þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.10       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMISSIONER OF REVENUE SERVICES
            STATE OF CONNECTICUT                           þ Contingent
            P.O. BOX 5030                                  þ Unliquidated
            HARTFORD, CT 06102-5030                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.11       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMISSIONER OF REVENUE SERVICES
            STATE OF CONNECTICUT                           þ Contingent
            P.O. BOX 5030                                  þ Unliquidated
            HARTFORD, CT 06102-5030                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.12       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMISSIONER OF REVENUE SERVICES
            STATE OF CONNECTICUT                           þ Contingent
            P.O. BOX 5088                                  þ Unliquidated
            HARTFORD, CT 06102-5088                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.13       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMISSIONER OF REVENUE SERVICES
            STATE OF CONNECTICUT                           þ Contingent
            P.O. BOX 5089                                  þ Unliquidated
            HARTFORD, CT 06102-5089                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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  Part 1:   Additional Page

                                                                                                               Total claim      Priority amount

 2.14       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMISSIONER OF TAXATION AND FINANCE
            PO BOX 4127                          þ Contingent
            BINGHAMTON, NY 13902-4127            þ Unliquidated
                                                 þ Disputed
            Date or dates debt was incurred
                                                 Basis for the claim:
            Last 4 digits of account number:     POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.15       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            BOARD OF MASSAGE THERAPY                       þ Contingent
            239 CAUSEWAY STREET 5TH FLOOR                  þ Unliquidated
            ESTABLISHMENT LICENSURE                        þ Disputed
            BOSTON, MA 02114                               Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.16       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            BOILER INSPECTION PROGRAM                      þ Contingent
            P.O. BOX 417599                                þ Unliquidated
            BOSTON, MA 02241-7599                          þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.17       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            DEPT. OF FIRE SERVICES                         þ Contingent
            P.O.BOX 1025-STATE ROAD                        þ Unliquidated
            STOW, MA 01775                                 þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.18       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            DIVISION OF PROFESSIONAL LICENSURE             þ Contingent
            1000 WASHINGTON STREET, ST 710                 þ Unliquidated
            BOSTON, MA 02118                               þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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  Part 1:   Additional Page

                                                                                                               Total claim      Priority amount

 2.19       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            EZDRIVEMA PAYMENT PROCESSING                   þ Contingent
            CENTER                                         þ Unliquidated
            P.O. BOX 847840                                þ Disputed
            BOSTON, MA 02284-7840                          Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.20       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            MASS. DEPT. OF REVENUE                         þ Contingent
            P.O. BOX 7039                                  þ Unliquidated
            BOSTON, MA 02204-7039                          þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.21       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            MASS. DEPT. OF REVENUE                         þ Contingent
            P.O. BOX 7072                                  þ Unliquidated
            BOSTON, MA 02204                               þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.22       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            MASSACHUSETTS DEPT OF PUBLIC SAFETY þ Contingent
            1 ASHBURTON PL ROOM 1310            þ Unliquidated
            BOSTON, MA 02108-1618               þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.23       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            OFFICE OF ATTORNEY GENERAL                     þ Contingent
            FAIR LABOR STANDARDS DIVISION                  þ Unliquidated
            100 CAMBRIDGE STREET, 12TH FLOOR               þ Disputed
            BOSTON, MA 02114                               Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)




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                                                                                                               Total claim      Priority amount

 2.24       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            OFFICE OF COLLECTOR OF TAXES                   þ Contingent
            BOX 55810                                      þ Unliquidated
            BOSTON, MA 02205                               þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.25       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            P.O. BOX 55485                                 þ Contingent
            BOSTON, MA 02205-5485                          þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.26       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            P.O. BOX 7039                                  þ Contingent
            BOSTON, MA 02204-7039                          þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.27       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            P.O. BOX 7040                                  þ Contingent
            BOSTON, MA 02204                               þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.28       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            P.O. BOX 7065                                  þ Contingent
            BOSTON, MA 02204-7065                          þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.29       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            PO BOX 417448                                  þ Contingent
            BOSTON, MA 02241-7448                          þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.30       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMMONWEALTH OF MASSACHUSETTS
            SECRETARY OF COMMONWEALTH                      þ Contingent
            CASHIERS DIVISION                              þ Unliquidated
            ONE ASHBURTON PLACE ROOM 1711A                 þ Disputed
            BOSTON, MA 02108                               Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.31       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            COMPTROLLER OF MARYLAND
            MARYLAND TAX AMNESTY                           þ Contingent
            P.O. BOX 2031                                  þ Unliquidated
            ANNAPOLIS, MD 21404-2031                       þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.32       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            CONNECTICUT DEPT OF REVENUE
            SERVICES                                       þ Contingent
            OPERATIONS DIVISION - INCOME TAX               þ Unliquidated
            TEAMS                                          þ Disputed
            450 COLUMBUS BLVD., STE 1                      Basis for the claim:
            HARTFORD, CT 06103-5032                        POTENTIAL TAX LIABILITY
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.33       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            1101 4TH STREET SW SUITE 270                   þ Contingent
            WEST WASHINGTON, DC 20024                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.34       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            ADJUDICATION SERVICE                           þ Contingent
            P.O. BOX 2014                                  þ Unliquidated
            WASHINGTON, DC 20013                           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.35       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            DC OFFICE OF TAX AND REVENUE                   þ Contingent
            P.O. BOX 96019                                 þ Unliquidated
            WASHINGTON, DC 20090-6019                      þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.36       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            DCRA CORPORATION DIVISION                      þ Contingent
            P.O. BOX 92300                                 þ Unliquidated
            WASHINGTON, DC 20090                           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.37       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            DEPT. OF CONSUMER & REGULATORY                 þ Contingent
            AFFAIRS                                        þ Unliquidated
            BUSINESS LICENSE DIVISION                      þ Disputed
            1100 4TH ST. SW                                Basis for the claim:
            WASHINGTON, DC 20024                           POTENTIAL TAX LIABILITY
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.38       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            OFFICE OF TAX AND REVENUE                      þ Contingent
            P.O. BOX 96384                                 þ Unliquidated
            WASHINGTON, DC 20090                           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.39       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            P.O. BOX 2014                                  þ Contingent
            WASHINGTON, DC 20013-2014                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.40       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            P.O. BOX 679                                   þ Contingent
            BEN FRANKLIN STATION                           þ Unliquidated
            WASHINGTON, DC 20044                           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.41       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            P.O. BOX 96035                                 þ Contingent
            WASHINGTON, DC 20090-6035                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.42       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DC TREASURER
            UNINCORPORATED BUSINESS ESTIMATED              þ Contingent
            TAX                                            þ Unliquidated
            P.O. BOX 96020                                 þ Disputed
            WASHINGTON, DC 20090-6020                      Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.43       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DELAWARE DIVISION OF REVENUE
            820 N FRENCH ST                                þ Contingent
            WILMINGTON, DE 19801                           þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.44       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DISTRICT OF COLUMBIA
            1101 4TH STREET, SW                            þ Contingent
            SUITE 270                                      þ Unliquidated
            WASHINGTON, DC 20024                           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.45       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            DIVISION OF CONSUMER AFFAIRS
            REGULATED BUSINESS                             þ Contingent
            124 HALSEY STREET, 7TH FL                      þ Unliquidated
            PO BOX 45028                                   þ Disputed
            NEWARK, NJ 07102                               Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.46       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MARYLAND OFFICE OF THE COMPTROLLER
            PETER FRANCHOT, COMPTROLLER        þ Contingent
            PO BOX 466                         þ Unliquidated
            ANNAPOLIS, MD 21404-0466           þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.47       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MASSACHUSETTS DEPT OF REVENUE
            100 CAMBIRDGE ST, 7TH FL                       þ Contingent
            BOSTON, MA 02114                               þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.48       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            730 ELLSWORTH DRIVE                            þ Contingent
            SILVER SPRING, CO 20907-8399                   þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.49       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            BOX 9415                                       þ Contingent
            GAITHERSBURG, MD 20898-9415                    þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.50       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            DEPARTMENT OF HEALTH & HUMAN                   þ Contingent
            SERVICES                                       þ Unliquidated
            255 ROCKVILLE PIKE, SUITE 100                  þ Disputed
            ROCKVILLE, MD 20850                            Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.51       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            DEPARTMENT OF PERMITTING                       þ Contingent
            255 ROCKVILLE PIKE                             þ Unliquidated
            ROCKVILLE, MD 20850                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.52       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            DEPARTMENT OF TRANSPORTATION                   þ Contingent
            P.O. BOX 8399                                  þ Unliquidated
            SILVER SPRING, MD 20907                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.53       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            GARAGE 60 C/O PARKING OPERATIONS               þ Contingent
            P.O. BOX 8399                                  þ Unliquidated
            SILVER SPRING, MD 20910                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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 2.54       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            MCMG-FIRE CODE ENFORCEMENT                     þ Contingent
            P.O. BOX 9465                                  þ Unliquidated
            GAITHERSBURG, MD 20898                         þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.55       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            OFFICE OF CONSUMER PROTECTION                  þ Contingent
            100 MARYLAND AVE. SUITE 330                    þ Unliquidated
            ROCKVILLE, MD 20850                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.56       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            OFFICE OF COUNTY ATTORNEY FOR                  þ Contingent
            MONTGOMERY COUNTY                              þ Unliquidated
            101 MONROE STREET, 3RD FLOOR                   þ Disputed
            ROCKVILLE, MD 20850                            Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.57       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            P.O. BOX 1426                                  þ Contingent
            ROCKVILLE, MD 20850-1426                       þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.58       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            P.O. BOX 17448                                 þ Contingent
            BALTIMORE, MD 21297-1448                       þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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 2.59       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            PARKING CITATION SERVICES                      þ Contingent
            P.O. BOX 1426                                  þ Unliquidated
            ROCKVILLE, MD 20849-1426                       þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.60       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            PERSONAL PROPERTY TAX DIVISION                 þ Contingent
            301 WEST PRESTON STREET                        þ Unliquidated
            BALTIMORE, MD 21021                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.61       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            MONTGOMERY COUNTY MARYLAND
            TREASURY DIVISION                              þ Contingent
            PO BOX 824860                                  þ Unliquidated
            PHILADELPHIA, PA 19182                         þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.62       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            NEW JERSEY DEPT OF THE TREASURY
            DIVISION OF TAXATION                           þ Contingent
            BANKRUPTCY SECTION                             þ Unliquidated
            PO BOX 245                                     þ Disputed
            TRENTON, NJ 08695-0245                         Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.63       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            NEW JERSEY SALES TAX
            P.O. BOX 999                                   þ Contingent
            TRENTON, NJ 08646-0999                         þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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 2.64       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            NEW YORK DEPT. OF FINANCE
            BANKRUPTCY SECTION                             þ Contingent
            PO BOX 5300                                    þ Unliquidated
            ALBANY, NY 12205-0300                          þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.65       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            NEW YORK STATE SALES TAX
            JAF BUILDING                                   þ Contingent
            P.O. BOX 1205                                  þ Unliquidated
            NEW YORK, NY 10116-1205                        þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.66       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            NEWTON NEEDHAM CHAMBER OF
            COMMERCE                                       þ Contingent
            281 NEEDHAM STREET                             þ Unliquidated
            NEWTON, MA 02464                               þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.67       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            NY STATE DEPARTMENT OF TAXATION AND
            FINANCE                             þ Contingent
            HARRIMAN CAMPUS RD                  þ Unliquidated
            ALBANY, NY 12226                    þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.68       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            PA DEPARTMENT OF REVENUE
            BUREAU OF CORP. TAXES                          þ Contingent
            DEPT. 280420                                   þ Unliquidated
            HARRISBURG, PA 17128-0420                      þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.69       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            PA DEPARTMENT OF REVENUE
            DEPT 280406                                    þ Contingent
            HARRISBURG, PA 17128-0406                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.70       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            PA DEPARTMENT OF REVENUE
            PO BOX 280404                                  þ Contingent
            HARRISBURG, PA 17128-0404                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.71       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            PA DEPARTMENT OF REVENUE
            PO BOX 280422                                  þ Contingent
            HARRISBURG, PA 17128-0422                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.72       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            PA DEPARTMENT OF REVENUE
            PO BOX 280425                                  þ Contingent
            HARRISBURG, PA 17128-0425                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.73       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            PENNSYLVANIA DEPT OF STATE
            110 N 8TH ST                                   þ Contingent
            STE 204A                                       þ Unliquidated
            PHILADELPHIA, PA 19107-2412                    þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.74       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            RHODE ISLAND DIVISION OF TAXATION
            ONE CAPITOL HILL                               þ Contingent
            PROVIDENCE, RI 02908-5800                      þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.75       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            STATE OF MARYLAND
            DEPARTMENT OF ASSESSMENTS AND                  þ Contingent
            TAXATION                                       þ Unliquidated
            301 WEST PRESTON STREET. RM 801                þ Disputed
            BALTIMORE, MD 21201-2395                       Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.76       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            STATE OF MARYLAND
            OF THE TREASURY                                þ Contingent
            P.O. BOX 17405                                 þ Unliquidated
            BALTIMORE, MD 21297-1405                       þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.77       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            STATE OF MARYLAND
            OFFICE OF THE ATTORNEY GENERAL                 þ Contingent
            CONSUMER PROTECTION DIVISION                   þ Unliquidated
            SIXTEENTH FLOOR                                þ Disputed
            BALTIMORE, MD 21202                            Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.78       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            1625 MASSACHUSETTES AVENUE                     þ Contingent
            LEXINGTON, MA 02420                            þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.79       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            COLLECTOR OF TAXES                             þ Contingent
            P.O. BOX 309                                   þ Unliquidated
            LEXINGTON, MA 02420                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.80       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            COLLECTOR OF TAXES                             þ Contingent
            P.O. BOX 614                                   þ Unliquidated
            LEXINGTON, MA 02420                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.81       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            COLLECTORS OFFICE                              þ Contingent
            1625 MASSACHUSETTS AVE.                        þ Unliquidated
            LEXINGTON, MA 02420                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.82       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            FIRE DEPT                                      þ Contingent
            45 BEDFORD STREET                              þ Unliquidated
            LEXINGTON, MA 02420                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.83       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            HEALTH DEPARTMENT                              þ Contingent
            1625 MASSACHUSETTS AVENUE                      þ Unliquidated
            LEXINGTON, MA 02420                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.84       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF LEXINGTON
            OFFICE OF TAX COLLECTOR                        þ Contingent
            1625 MASSACHUSETTS AVENUE                      þ Unliquidated
            LEXINGTON, MA 02420                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.85       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF WAKEFIELD
            DPW PO BOX 1909                                þ Contingent
            WAKEFIELD, MA 01880                            þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.86       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF WAKEFIELD
            OFFICE OF TAX COLLECTOR                        þ Contingent
            1 LAFAYETTE ST                                 þ Unliquidated
            WAKEFIELD, MA 01880                            þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.87       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWN OF WAKEFIELD
            P.O. BOX 269                                   þ Contingent
            WAKEFIELD, MA 01880-0469                       þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.88       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWNSHIP CLERK
            1 JEAN WALLING CIVIC CENTER DR                 þ Contingent
            EAST BRUNSWICK, NJ 08816                       þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY
            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.89       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWNSHIP OF EAST BRUNSWICK
            DEPT OF PUB SFTY., ADMIN DEPT                  þ Contingent
            P.O. BOX 1081                                  þ Unliquidated
            1 JEAN WALLING CIVIC CENTER DR EAST            þ Disputed
            BRUNSWICK, NJ 08816-1081                       Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.90       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWNSHIP OF EAST BRUNSWICK
            DIVISION OF CONSTRUCTION INSPECTION            þ Contingent
            P.O. BOX 1081                                  þ Unliquidated
            1 JEAN WALLING CIVIC CENTER DR EAST            þ Disputed
            BRUNSWICK, NJ 08816-1081                       Basis for the claim:
            Date or dates debt was incurred                POTENTIAL TAX LIABILITY
                                                           Is the claim subject to offset?
            Last 4 digits of account number:               þ No
            Specify Code subsection of PRIORITY            ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.91       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWNSHIP OF EAST BRUNSWICK
            MUNICIPAL CLERKS OFFICE                        þ Contingent
            P.O. BOX 1081                                  þ Unliquidated
            EAST BRUNSWICK, NJ 08816                       þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.92       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TOWNSHIP OF EAST BRUNSWICK
            PO BOX 1081                                    þ Contingent
            EAST BRUNSWICK, NJ 08816-1081                  þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.93       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TREASURER, STATE OF NEW JERSEY
            ARLINGTON COUNTY VIRGINIA                      þ Contingent
            PO BOX 1757                                    þ Unliquidated
            MERRIFIELD, VA 22116-1757                      þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




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                                                                                                               Total claim      Priority amount

 2.94       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TREASURER, STATE OF NEW JERSEY
            DEPARTMENT OF COMMUNITY AFFAIRS                þ Contingent
            DIVISION OF FIRE SAFETY BFCE                   þ Unliquidated
            TRENTON, NJ 08625-0063                         þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.95       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TREASURER, STATE OF NEW JERSEY
            DIVISION OF ACCOUNTING                         þ Contingent
            P.O. BOX 955                                   þ Unliquidated
            TRENTON, NJ 08625-0955                         þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes

 2.96       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TREASURER, STATE OF NEW JERSEY
            NEW JERSEY DEPT. OF LABOR &                    þ Contingent
            WORKFORCE DEV.                                 þ Unliquidated
            DIVISION OF ACCOUNTING                         þ Disputed
            P.O. BOX 955                                   Basis for the claim:
            TRENTON, NJ 08625-0955                         POTENTIAL TAX LIABILITY
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) (8)

 2.97       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TREASURER, STATE OF NEW JERSEY
            P.O. BOX 369                                   þ Contingent
            TRENTON, NJ 08625-0369                         þ Unliquidated
                                                           þ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            Last 4 digits of account number:               POTENTIAL TAX LIABILITY

            Specify Code subsection of PRIORITY            Is the claim subject to offset?
            unsecured claim: 11 U.S.C. § 507(a) (8)        þ No
                                                           ¨ Yes

 2.98       Priority creditor’s name and mailing address As of the petition filing date, the claim is:             UNKNOWN           UNKNOWN
                                                           Check all that apply.
            TREASURER, STATE OF NEW JERSEY
            PO BOX 816                                     þ Contingent
            101 S. BROAD ST.                               þ Unliquidated
            TRENTON, NJ 08625-0816                         þ Disputed
            Date or dates debt was incurred                Basis for the claim:
                                                           POTENTIAL TAX LIABILITY
            Last 4 digits of account number:               Is the claim subject to offset?
            Specify Code subsection of PRIORITY            þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)        ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 20 of 23
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             TSI Lucille Jersey City, LLC                        Doc 622             Filed Case
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  Part 1:    Additional Page

                                                                                                                  Total claim          Priority amount

 2.99        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                UNKNOWN               UNKNOWN
                                                             Check all that apply.
             VA DEPARTMENT OF TAXATION
             P.O. BOX 1777                                   þ Contingent
             RICHMOND, VA 23218-1777                         þ Unliquidated
                                                             þ Disputed
             Date or dates debt was incurred
                                                             Basis for the claim:
             Last 4 digits of account number:                POTENTIAL TAX LIABILITY
             Specify Code subsection of PRIORITY             Is the claim subject to offset?
             unsecured claim: 11 U.S.C. § 507(a) (8)         þ No
                                                             ¨ Yes

 2.100       Priority creditor’s name and mailing address As of the petition filing date, the claim is:                UNKNOWN               UNKNOWN
                                                             Check all that apply.
             VA DEPARTMENT OF TAXATION
             P.O. BOX 26626                                  þ Contingent
             RICHMOND, VA 23261-6626                         þ Unliquidated
                                                             þ Disputed
             Date or dates debt was incurred
                                                             Basis for the claim:
             Last 4 digits of account number:                POTENTIAL TAX LIABILITY

             Specify Code subsection of PRIORITY             Is the claim subject to offset?
             unsecured claim: 11 U.S.C. § 507(a) (8)         þ No
                                                             ¨ Yes

  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims


 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                    Amount of claim

 3.1         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                     $1,660.70
                                                                              Check all that apply.
             ARISTA AIR CONDITIONING CORP.
             38-26 10TH STREET                                                ¨ Contingent
             LONG ISLAND CITY, NY 11101                                       ¨ Unliquidated
                                                                              ¨ Disputed
             Date or dates debt was incurred
                                                                              Basis for the claim:
             VARIOUS DATES                                                    TRADE PAYABLE
             Last 4 digits of account number:                                 Is the claim subject to offset?
                                                                              þ No
                                                                              ¨ Yes

 3.2         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                     $2,426.24
                                                                              Check all that apply.
             CONSTELLATION NEW ENERGY INC.
             PO BOX 4640                                                      ¨ Contingent
             CAROL STREAM, IL 60197-4640                                      ¨ Unliquidated
                                                                              ¨ Disputed
             Date or dates debt was incurred
                                                                              Basis for the claim:
             VARIOUS DATES                                                    TRADE PAYABLE
             Last 4 digits of account number:                                 Is the claim subject to offset?
                                                                              þ No
                                                                              ¨ Yes

 3.3         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                       $196.29
                                                                              Check all that apply.
             DIRECT ENERGY SERVICES LLC
             PO BOX 32179                                                     ¨ Contingent
             NEW YORK, NY 10087-2179                                          ¨ Unliquidated
                                                                              ¨ Disputed
             Date or dates debt was incurred
                                                                              Basis for the claim:
             VARIOUS DATES                                                    TRADE PAYABLE
             Last 4 digits of account number:                                 Is the claim subject to offset?
                                                                              þ No
                                                                              ¨ Yes




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  Part 2:   Additional Page

                                                                                                                        Amount of claim

 3.4        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $257.39
                                                                       Check all that apply.
            DIRECT TV
            PO BOX 60036                                               ¨ Contingent
            LOS ANGELES, CA 90060-0036                                 ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS DATES                                              TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $270.20
                                                                       Check all that apply.
            FULL CIRCLE PADDING
            253 MANSFIELD AVE                                          ¨ Contingent
            NORTON, MA 02048                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            2/25/2020                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.6        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:               $1,032.77
                                                                       Check all that apply.
            IMPERIAL BAG & PAPER COMPANY, LLC
            255 ROUTE 1 AND 9                                          ¨ Contingent
            JERSEY CITY, NJ 07306                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS DATES                                              TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             UNKNOWN
                                                                       Check all that apply.
            MARITZA SOTO CAICEDO
            338 CENTRAL AVE.                                           þ Contingent
            JERSEY CITY, NJ 07307                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            10/6/2019                                                  INSURANCE CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $61,251.75
                                                                       Check all that apply.
            PBP ASSOCIATES
            C/O PANEPINTO PROPERTIES, INC                              ¨ Contingent
            HARBORSIDE PLAZA 10, STE 1203                              ¨ Unliquidated
            JERSEY CITY, NJ 07311                                      ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS DATES
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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  Part 2:     Additional Page

                                                                                                                                 Amount of claim

 3.9          Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                        $5,157.92
                                                                          Check all that apply.
              PSE&G
              PO BOX 14444                                                ¨ Contingent
              NEW BRUNSWICK, NJ 08906-4444                                ¨ Unliquidated
                                                                          ¨ Disputed
              Date or dates debt was incurred
                                                                          Basis for the claim:
              VARIOUS DATES                                               TRADE PAYABLE
              Last 4 digits of account number:                            Is the claim subject to offset?
                                                                          þ No
                                                                          ¨ Yes

 3.10         Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                          $42.62
                                                                          Check all that apply.
              STAPLES CONTRACT & COMMERCIAL, INC.
              D/B/A STAPLES ADVANTAGE                                     ¨ Contingent
              1096 E. NEWPORT CENTER DRIVE, SUITE 300                     ¨ Unliquidated
              DEERFIELD BEACH, FL 33442                                   ¨ Disputed
              Date or dates debt was incurred                             Basis for the claim:
                                                                          TRADE PAYABLE
              2/26/2020
                                                                          Is the claim subject to offset?
              Last 4 digits of account number:                            þ No
                                                                          ¨ Yes

 3.11         Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                    $225,928.57
                                                                          Check all that apply.
              TSI CASH MANAGEMENT, LLC
              399 EXECUTIVE BLVD.                                         ¨ Contingent
              ELMSFORD, NY 10523                                          ¨ Unliquidated
                                                                          ¨ Disputed
              Date or dates debt was incurred
                                                                          Basis for the claim:
              Last 4 digits of account number:                            INTERCOMPANY PAYABLE
                                                                          Is the claim subject to offset?
                                                                          þ No
                                                                          ¨ Yes

 3.12         Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                         $283.20
                                                                          Check all that apply.
              VERIZON
              PO BOX 15124                                                ¨ Contingent
              ALBANY, NY 12212-5124                                       ¨ Unliquidated
                                                                          ¨ Disputed
              Date or dates debt was incurred
                                                                          Basis for the claim:
              VARIOUS DATES                                               TRADE PAYABLE
              Last 4 digits of account number:                            Is the claim subject to offset?
                                                                          þ No
                                                                          ¨ Yes

    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                      Total of claim amounts


   5a. Total claims from Part 1                                                                             5a.                UNDETERMINED



   5b. Total claims from Part 2                                                                             5b.   +                 $298,507.65



   5c. Total of Parts 1 and 2                                                                               5c.                     $298,507.65
       Lines 5a + 5b = 5c.




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  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


 Case number          20-12657
  (if known)
                                                                                                                                      ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).

 2.    List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract       AMENDED AND RESTATED EXECUTIVE            CAROLYN SPATAFORA
                or lease is for and the       SEVERANCE AGREEMENT DATED                 ADDRESS AVAILABLE UPON REQUEST
                nature of the debtor’s        2/25/2015
                interest
                State the term remaining

                List the contract number
                of any government
                contract

 2.2            State what the contract       AMENDMENT TO AMENDED AND                  CAROLYN SPATAFORA
                or lease is for and the       RESTATED EXECUTIVE SEVERANCE              ADDRESS AVAILABLE UPON REQUEST
                nature of the debtor’s        AGREEMENT DATED 3/31/2016
                interest
                State the term remaining

                List the contract number
                of any government
                contract

 2.3            State what the contract       EXECUTIVE SEVERANCE AGREEMENT             CAROLYN SPATAFORA
                or lease is for and the       DATED 5/12/2014                           ADDRESS AVAILABLE UPON REQUEST
                nature of the debtor’s
                interest
                State the term remaining

                List the contract number
                of any government
                contract

 2.4            State what the contract       SECOND AMENDMENT TO AMENDED               CAROLYN SPATAFORA
                or lease is for and the       AND RESTATED EXECUTIVE                    ADDRESS AVAILABLE UPON REQUEST
                nature of the debtor’s        SEVERANCE AGREEMENT DATED
                interest                      3/20/2019

                State the term remaining

                List the contract number
                of any government
                contract




Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 3
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        List all contracts and unexpired leases                                State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease

 2.5        State what the contract        EXECUTIVE SEVERANCE AGREEMENT        MICHAEL FABRICO
            or lease is for and the        DATED 7/9/19                         ADDRESS AVAILABLE UPON REQUEST
            nature of the debtor’s
            interest
            State the term remaining

            List the contract number
            of any government
            contract

 2.6        State what the contract        AMENDED AND RESTATED EXECUTIVE       NITIN AJMERA
            or lease is for and the        SEVERANCE AGREEMENT DATED            ADDRESS AVAILABLE UPON REQUEST
            nature of the debtor’s         2/25/2015
            interest
            State the term remaining

            List the contract number
            of any government
            contract

 2.7        State what the contract        AMENDMENT TO AMENDED AND             NITIN AJMERA
            or lease is for and the        RESTATED EXECUTIVE SEVERANCE         ADDRESS AVAILABLE UPON REQUEST
            nature of the debtor’s         AGREEMENT DATED 2/16/2017
            interest
            State the term remaining

            List the contract number
            of any government
            contract

 2.8        State what the contract        EXECUTIVE SEVERANCE AGREEMENT        NITIN AJMERA
            or lease is for and the        DATED 5/8/2014                       ADDRESS AVAILABLE UPON REQUEST
            nature of the debtor’s
            interest
            State the term remaining

            List the contract number
            of any government
            contract

 2.9        State what the contract        LEASE AGREEMENT                      PBP ASSOCIATES
            or lease is for and the                                             C/O PANEPINTO PROPERTIES, INC.
            nature of the debtor’s                                              ATTN: AURELIA DICRISTO
            interest                                                            HARBORSIDE PLAZA 10, SUITE 1203
                                                                                JERSEY CITY, NJ 07311
            State the term remaining

            List the contract number
            of any government
            contract

 2.10       State what the contract        LEASE AGREEMENT                      PBP ASSOCIATES
            or lease is for and the                                             C/O PANEPINTO PROPERTIES, INC.
            nature of the debtor’s                                              ATTN: GORDON GEMMA
            interest                                                            3 SECOND STREET, SUITE 1203
                                                                                JERSEY CITY, NJ 07311
            State the term remaining

            List the contract number
            of any government
            contract




Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 3
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        List all contracts and unexpired leases                                State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease

 2.11       State what the contract        RETENTION AGREEMENT DATED            ROBERT GIARDINA
            or lease is for and the        2/25/2015                            ADDRESS AVAILABLE UPON REQUEST
            nature of the debtor’s
            interest
            State the term remaining

            List the contract number
            of any government
            contract




Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 3
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  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


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  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                   12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                           Column 2: Creditor
                                                                                                                                            Check all schedules
                Name                             Mailing Address                                       Name                                 that apply

 2.1            TSI 217 BROADWAY, LLC            399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.2            TSI BRADFORD, LLC                399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.3            TSI CANTON, LLC                  399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.4            TSI EAST 41, LLC                 399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.5            TSI EAST 48, LLC                 399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.6            TSI EAST 59, LLC                 399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.7            TSI EAST BRUNSWICK, LLC          399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.8            TSI EAST MEADOW, LLC             399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.9            TSI ENGLEWOOD, LLC               399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.10           TSI GREAT NECK, LLC              399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G

 2.11           TSI GREENWICH, LLC               399 EXECUTIVE BLVD.                                   DEUTSCHE BANK AG, NEW                þ D
                                                 ELMSFORD, NY 10523                                    YORK BRANCH                          ¨ E/F
                                                                                                                                            ¨ G


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        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                         Check all schedules
            Name                           Mailing Address                                 Name                          that apply

 2.12       TSI HUNTINGTON, LLC            399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.13       TSI IRVING PLACE, LLC          399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.14       TSI LUCILLE 42ND STREET,       399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            LLC                            ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.15       TSI LUCILLE 89TH STREET,       399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            LLC                            ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.16       TSI LUCILLE ASTORIA, LLC       399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.17       TSI LUCILLE BAYSHORE,          399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            LLC                            ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.18       TSI LUCILLE BRONX, LLC         399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.19       TSI LUCILLE COMMACK,           399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            LLC                            ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.20       TSI LUCILLE HOLBROOK,          399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            LLC                            ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.21       TSI LUCILLE RALPH              399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            AVENUE, LLC                    ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.22       TSI LUCILLE ROCKVILLE          399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            CENTRE, LLC                    ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.23       TSI LUCILLE ST. NICHOLAS       399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
            AVENUE, LLC                    ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.24       TSI MAMARONECK, LLC            399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.25       TSI MARKET STREET, LLC         399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.26       TSI MERCER STREET, LLC         399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.27       TSI MIDWOOD, LLC               399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.28       TSI MONTCLAIR, LLC             399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G


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        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                         Check all schedules
            Name                           Mailing Address                                 Name                          that apply

 2.29       TSI NEW ROCHELLE, LLC          399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.30       TSI NEWBURY STREET, LLC 399 EXECUTIVE BLVD.                                    DEUTSCHE BANK AG, NEW        þ D
                                    ELMSFORD, NY 10523                                     YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.31       TSI RODIN PLACE, LLC           399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.32       TSI SILVER SPRING, LLC         399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.33       TSI SOMERS, LLC                399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.34       TSI STAMFORD POST, LLC         399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.35       TSI SUMMER STREET, LLC         399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.36       TSI SYOSSET, LLC               399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.37       TSI WEST END, LLC              399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.38       TSI WEST NEWTON, LLC           399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.39       TSI WEST NYACK, LLC            399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.40       TSI WOBURN, LLC                399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G

 2.41       TSI WOODMERE, LLC              399 EXECUTIVE BLVD.                             DEUTSCHE BANK AG, NEW        þ D
                                           ELMSFORD, NY 10523                              YORK BRANCH                  ¨ E/F
                                                                                                                        ¨ G




Official Form 206H                                           Schedule H: Codebtors                                              Page 3 of 3
                                  Case 20-12168-CSS                 Doc 622             Filed 11/04/20               Page 56 of 56
  Fill in this information to identify the case:

 Debtor        TSI Lucille Jersey City, LLC


 United States Bankruptcy Court for the: District of Delaware


 Case number          20-12657
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 11/3/2020
                             MM / DD / YYYY
                                                                û   /s/ Laura Marcero
                                                                    Signature of individual signing on behalf of debtor


                                                                    Laura Marcero
                                                                    Printed name


                                                                    Deputy Chief Restructuring Officer
                                                                    Position or relationship to debtor




Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
